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July 26, 2024

Sent via e-mail only

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RE: Issuance of Tax Deed to Goldfields Funding Partners LLC
Rule 408 Offer of Compromise

Dear Sam:

This letter follows our recent correspondence and telephone conference.
Goldfields Funding Partners (Goldfields) proposes the following resolution to the
current dispute with DEQ regarding this matter. Goldfields will enter into an
agreement with Montana Tunnels Mining Inc. (MTMI) that upon issuance of the
tax deed, MTMI will retain use of the subject properties with a right to purchase
the properties back from Goldfields once MTMI has obtained the necessary
financing. In addition, Goldfields will agree to grant DEQ the same security
interest in the properties that it currently possesses. The foregoing is conditioned
upon DEQ agreeing that once the requisite bond is posted, MTMI’s “bad actor”
status will be removed and MTMI will be permitted to resume mining operations.

I believe this proposal is beneficial to DEQ. It enables DEQ to maintain
its current security interest in the property without having to redeem the tax lien.
Although a court action by DEQ may temporarily delay issuance of the tax deed, I
do not believe DEQ has any legal basis to prevent the tax deed from ultimately
being issued. As we discussed, Goldfields is agreeable to the County Treasurer
holding off on issuing the tax deed while we explore a possible resolution if DEQ
will hold off on the filing of a court action. I believe we should know soon
whether an agreeable resolution is possible. I look forward to DEQ’s response.

Sincerely,

JONES & HOUST@N, PLLC

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J obeph D. Houston
ce: client

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